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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:17-cv-01552-MSK-MJW

  UNITED STATES OF AMERICA, and
  STATE OF COLORADO,

                   Plaintiffs,

         v.

  PDC ENERGY, INC.,

                   Defendant.


                 JOINT STIPULATION OF TERMINATION OF CONSENT DECREE
                            AS TO TANK SYSTEM 209 (OWEN 12-3)


         The United States of America, on behalf of the U.S. Environmental Protection Agency

  (“EPA”), the State of Colorado, on behalf of the Colorado Department of Public Health and

  Environment (“CDPHE”), and PDC Energy, Inc. (“PDC”) (collectively the “Parties”) hereby

  stipulate to (1) terminating the requirements of the Consent Decree (Doc. No. 26-1) as to Tank

  System 209 (Owen 12-3) (the “Tank System”) and (2) updating Appendix A-1 to the Consent

  Decree to reflect that the Tank System is no longer subject to the requirements of the Consent

  Decree.

            1.     Paragraph 95 of the Consent Decree allows PDC to seek termination of the

  Consent Decree as to a limited number of specific Tank Systems. In order to seek termination

  pursuant to this provision, PDC must have (a) completed an engineering evaluation for the Tank

  System, (b) completed any necessary modifications to the Tank System, and (c) submitted to

  EPA and CDPHE a “certification of completion report” as required by Paragraphs 10, 11, and 95
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  of the Consent Decree. In addition, if the Tank System has been equipped with a tank pressure

  monitor, PDC must have moved the tank pressure monitor to another Tank System in accordance

  with Paragraph 95.a.(2) of the Consent Decree. The request for termination must be in writing

  and contain the information described in Paragraph 95(a) of the Consent Decree. Finally, any

  individual request for termination may not include more than 7.5% of the Tank Systems subject

  to the Consent Decree, and under no circumstances may PDC seek to terminate the requirements

  of the Consent Decree as to more than 15% of all Tank Systems subject to the Consent Decree.

            2.   On January 11, 2021, PDC submitted a written request to terminate the provisions

  of the Consent Decree as to the Tank System. Along with this request, PDC provided supporting

  documentation, including:

                 a.     Certification of Completion Report for the Tank System;

                 b.     Status of Tank Pressure Monitoring obligations related to the Tank
                        System;

                 c.     Confirmation that the request to terminate does not exceed 7.5% of all
                        Tank Systems subject to the Consent Decree and PDC has not sought to
                        terminate more than 15% of all Tank Systems subject to the Consent
                        Decree; and

                 d.     Confirmation of compliance with, to the extent applicable, other Consent
                        Decree provisions.

            3.   EPA and CDPHE have reviewed PDC’s written request and supporting

  documentation. Based on the written request and supporting documentation, EPA and CDPHE

  consent to PDC’s request to terminate the requirements of the Consent Decree as to the Tank

  System.

            4.   For clarity of the continuing applicability of the provisions of the Consent Decree

  to all other Tank Systems, PDC has prepared an updated Appendix A-1, which removes the Tank

  System. The updated Appendix A-1 includes in the header “Revised January 19, 2021 Appendix

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  A-1 – Tank Systems Subject to the Consent Decree,” and is attached as Exhibit 1 to this

  Stipulation. For further clarity, a second version of the updated Appendix A-1, red-lined to show

  changes from the prior approved Appendix A-1, is attached to this Stipulation as Exhibit 2 and

  includes the header “Red-lined Revised January 19, 2021 Appendix A-1 – Tank Systems Subject

  to the Consent Decree.”

          5.     The Parties have reviewed the terms of the Consent Decree and agree that EPA’s

  and CDPHE’s consent to PDC’s request to terminate the requirements of the Consent Decree as

  to the Tank System is specifically set forth in the Consent Decree and is therefore not a

  modification. Similarly, the Parties agree that updating Appendix A-1 to the Consent Decree is

  not a material modification of the Consent Decree and is being filed with the Court so that the

  Court has an accurate record.



                                               Respectfully submitted,



                                               FOR THE UNITED STATES OF AMERICA:



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                                    FOR THE STATE OF COLORADO



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 10, 2021 a true and correct copy of the foregoing JOINT
  STIPULATION OF TERMINATION OF CONSENT DECREE AS TO TANK SYSTEM 209
  (OWEN 12-3) was served via the CM/ECF system on:


  Laura Terlisner Mehew
  Counsel for Plaintiff State of Colorado


  Jonathan Rauchway
  Michael Kotlarczyk
  Radcliffe Dann, IV
  Counsel for Defendant PDC Energy, Inc.




                                                     /s/ Mark C. Elmer
                                                     Mark C. Elmer




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